


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kangs County (Murphy, J.), imposed June 22, 2015, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s purported waiver of his right to appeal was invalid (see People v Bradshaw, 18 NY3d 257, 265 [2011]; People v Lopez, 6 NY3d 248, 256-257 [2006]; People v Pacheco, 138 AD3d 1035 [2016]), and thus, does not preclude review of his excessive sentence claim. However, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Chambers, Maltese and Barros, JJ., concur.
 
